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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA
(1) KYLE NICELY                   )
                                  )
               Plaintiff,         )
v.                                )                                  CIV-20-36-SLP
                                                           Case No. _________________
                                  )
(1) COX ENTERPRISES INC., WELFARE )                        ATTORNEY LIEN CLAIMED
BENEFITS PLAN,                    )
                                  )
               Defendant.         )

                                           COMPLAINT
       Plaintiff Kyle Nicely, for his cause of action against Defendant Cox Enterprises Inc.,

Welfare Benefits Plan (“Plan”), alleges and states as follows:

                               I.         Jurisdiction and Venue

       1.       Plaintiff brings this action pursuant to the Employee Retirement Income

Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq., to recover benefits

due under an employee benefit plan, and to recover costs and attorney’s fees.

       2.       This Court has subject matter jurisdiction pursuant to 29 U.S.C. § 1132(e)(1)

and 28 U.S.C. § 1331. Under 29 U.S.C. § 1132(f), this Court has jurisdiction without

regard to the amount in controversy or the citizenship of the parties.

       3.       Venue is properly in this district pursuant to 29 U.S.C. § 1132(e)(2) and

pursuant to 28 U.S.C. § 11391(b), in that a substantial part of the events or omissions giving

rise to Plaintiff’s claim occurred in this district.

                                    II.      Parties and Plan

       4.       Plaintiff is a fifty (50) year-old man. He resides in Meeker, Oklahoma and
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within this judicial district.

       5.       At all relevant times, Plaintiff was employed by Cox Communications in

Oklahoma City. Plaintiff last worked as a Field Service Representative III for Cox

Communications.

       6.       Cox Communications is an operating subsidiary of Cox Enterprises, Inc.

(“Cox Enterprises”).

       7.       Defendant Cox Enterprises Inc., Welfare Benefits Plan (the “Plan”) is a

welfare benefit plan sponsored by Cox Enterprises.

       8.       At all relevant times, Plaintiff was eligible to participate in the Plan, did

participate in the Plan, and was a participant in the Plan within the meaning of 29 U.S.C. §

1002(7).

       9.       At all relevant times, the Plan made long term disability (“LTD”) benefits

available to Plan participants.

       10.      LTD benefits payable pursuant to the Plan are self-funded by Cox

Enterprises.

       11.      The Plan is administered by Cox Enterprises and Cox Enterprises is the

named Plan Administrator.

       12.      Aetna Life Insurance Company (“Aetna”) is the designated claims

administrator with respect to LTD claims made pursuant to the Plan.

       13.      Aetna serves as the designated claims administrator pursuant to an

Administrative Services Contract between Aetna and Cox Enterprises, Contract Number

ASC-050398.

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       14.      By virtue of its status as the claim administrator with respect to LTD claims,

Aetna makes the LTD claims benefit decisions. Aetna does not make payment for LTD

benefits due under the Plan out of Aetna’s funds or assets.

       15.      The Plan does not contain any provision wherein discretion is expressly

reserved to, or delegated to, Aetna to determine LTD benefit eligibility or entitlement.

       16.      The coverage options for LTD benefits pursuant to the Plan include a

monthly benefit rate of 60% or 70% of an eligible participant’s annual base salary, subject

to certain maximum monthly benefit limitations.

       17.      Pursuant to the Plan, a LTD claimant will be considered “totally disabled”

when either of the following applies:

             • In the first 24-month period of disability, you are not able, solely because of
               injury or disease, to work at your own occupation.

             • After the first 24 months of a period of disability, you cannot work at any
               reasonable occupation. (A reasonable occupation is defined as any gainful
               activity which you are or reasonably could become qualified to perform
               through education, training or experience earning equal to your LTD benefit
               but no less than 60% of pre-disability earnings. It does not include work
               under an approved rehabilitation program.)

       18.      For a claimant whose disability begins before age 60, the maximum benefit

period pursuant to the Plan is the person’s 65th birthday.

                              III.   Allegations Applicable to All Claims

       19.      Plaintiff began working for Cox Communications in February 2001.

       20.      Plaintiff elected LTD coverage that was available to him as a Plan

participant. Plaintiff elected the coverage option that provided for LTD benefits at a

monthly benefit rate of 70% of his annual base salary.
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       21.    Plaintiff ceased working on or about April 17, 2017, as a consequence of his

debilitating medical conditions, including spinal impairments, osteoarthritis, fibromyalgia,

related chronic pain and weakness, and related restricted range of motion.

       22.    Plaintiff’s annual rate of pay at the time he last worked was $73,382.40.

       23.    For the six-month period immediately following his work cessation, Plaintiff

received salary continuation payments from Cox Enterprises.

       24.    Because the terms of the Plan include a waiting period of six consecutive

months of disability in order to qualify for LTD benefits, Plaintiff did not initiate a LTD

claim until October 2017.

       25.    On October 3, 2017, Plaintiff submitted a LTD claim to Aetna.

       26.    Plaintiff’s initial claim submission included information from himself and

his employer that confirmed Plaintiff worked as Universal Home Technician and installed

and serviced residential cable TV, internet service, telephone, and home security.

       27.    Plaintiff’s initial claim submission included information from himself and

his employer that confirmed the physical exertion requirements of Plaintiff’s occupation

involved was classified as “heavy.”

       28.    Plaintiff’s initial claim submission included an Attending Physician

Statement and Capabilities and Limitations Worksheet completed by Dr. Waddah N.

Nassar. Dr. Nassar endorsed that Plaintiff was “unable to sit, stand, climb, kneel, push,

[or] pull” and had “no ability to work.” Dr. Nassar endorsed that the duration of Plaintiff’s

restrictions was “lifetime.”



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       29.      By letter dated October 25, 2017, Aetna approved Plaintiff’s LTD claim for

payment pursuant to the “own-occupation” definition of disability. The gross monthly

benefit was $4,280.64, which reflected the monthly benefit rate of 70% of Plaintiff’s annual

base salary.

       30.      In its letter dated October 25, 2017, Aetna told Plaintiff as follows:

       If we determine that a Social Security Disability Benefit Application is
       required, we have arranged with ALLSUP Incorporated, a Social Security
       advocacy firm, to call and assist you with your Social Security application.
       These services will be provided at no cost.

       31.      On October 30, 2017, Aetna conducted an “initial SSDI review.”           As

reflected in the related Aetna note, “Allsup has deemed this claimant as viable for SSDI.”

       32.      Consequently, the noted plan of action in the related Aetna note was to

“warm transfer the claimant to Allsup’s Disability Resource Center.”

       33.      Aetna subsequently received medical records from Plaintiff’s healthcare

provider. The 2017-related medical information and records included:

             • A pulmonary function test done on May 11, 2017, confirming a mild
               obstructive lung defect;

             • A lumbar spine x-ray done on May 19, 2017, evidencing multilevel
               degenerative changes with disc space narrowing, and most pronounced
               posteriorly off L5-S1, and fact arthrosis most pronounced at L5-S1.

             • A cervical spine x-ray done on June 2, 2017, evidencing disc space
               narrowing and circumferential osteophytic lipping at C5-6 and C6-7, and
               facet joints exhibiting mild diffuse degenerative change.

             • A lumbar spine MRI done on August 29, 2017, evidencing multilevel
               degenerative disc disease and mild facet arthropathy of the lumbar spine
               resulting in mild spinal canal stenosis and neuroforaminal narrowing most
               pronounced on the left at L5-S1.

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             • A cervical spine MRI done on September 15, 2017, evidencing cervical
               spondylosis resulting in mild spinal canal stenosis at the C5-C6 and C6-C7
               levels, and moderate to severe neuroforaminal stenosis on the right at C3-C4
               and bilaterally at C5-C6 and C6-C7.

             • Treatment notes evidencing Plaintiff’s consistent reporting neck, back,
               shoulder and joint pain, and abnormal findings on physical examination.

             • Pain management records evidencing that Plaintiff underwent a lumbar spine
               epidural steroid injection at the L2-3 level on November 8, 2017.

       34.      Upon receipt and review of the 2017-related medical information and

records, Aetna continued to approve Plaintiff’s LTD claim for payment.

       35.      Pursuant to Aetna’s request for updated medical records, Plaintiff submitted

his office visit notes from encounters with Dr. Nassar during the period January through

April 2018. The records confirmed Plaintiff’s continued pain, abnormal findings on

physical examination, and pain management treatment. The records specifically refer to

an emergency room visit due to Plaintiff’s severe back pain and another epidural steroid

injection.

       36.      Upon receipt and review of the 2018-related medical information and

records, Aetna continued to approve Plaintiff’s LTD claim for payment.

       37.      By letter dated April 27, 2018, Aetna requested that another Attending

Physician Statement and Capabilities and Limitations Worksheet be completed and

returned.

       38.      Dr. Nassar completed the Attending Physician Statement on June 5, 2018.

Dr. Nassar endorsed that Plaintiff’s primary diagnosis was “cervical spondylosis/lumbar




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spine”. The secondary diagnosis was “facet joint pain” and the other noted diagnosis was

“neck pain.”

       39.     Dr. Nassar confirmed that Plaintiff’s symptoms were “numbness, burning

nerve pain, chronic back pain, incontinence, anxiety, depression, joint stiffness and pain &

headaches.”

       40.     Dr. Nassar again endorsed that Plaintiff had “no ability to work.”

       41.     Dr. Nassar’s encounter note for May 14, 2018 was also submitted to Aetna.

Dr. Nassar recorded the following in the “chief complaint” section:

       The patient is in today for reevaluation of his back and neck pain. He
       continued to have significant symptoms. The pain medication helps some.
       Specifically sitting for 2 hours or more will produce moderate to severe pain
       in the lower lumbar area and will make him experience neuropathic electric
       shock type pain in the lower extremities.

       Standing for 10 minutes or more can cause also (sic) pain down into the hips
       and knees it can get to the point that makes him have to sit down or sit on the
       floor. Also associated with neurological symptoms in the lower extremities.

       Walking activities is variable and he can tolerate walking for a good distances
       (sic) at times and then other times he cannot. And sometimes the symptoms
       recurs after walking for no more than 10 or 15 minutes.

       Regarding the neck pain rotation of the cervical spine can be causing him a
       lot of headaches and hyper extension for several times would also do the
       same (sic). And that the (sic) headache can be quite significant and
       excruciating that decreases ability to function for up to several hours at times.

       Based on the above he learned to limit his activities to less than 2 hours and
       maximum and he has always to find a place where he can’t sit or rest (sic).
       Discussed pain medication has been effective which includes morphine 15
       mg to be taken every 6 hours as needed less followed by his his (sic) pain
       management specialist.

       42.     Upon receipt and review of the updated Attending Physician Statement from


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Dr. Nassar and the May 14, 2018 note, Aetna continued to approve Plaintiff’s LTD claim

for payment.

       43.      By letter dated August 2, 2018, Aetna notified Plaintiff that it was reviewing

his claim pursuant to an impending “change in the definition of disability.” Aetna advised

it would be evaluating Plaintiff’s ability to perform other occupations.

       44.      As part of Aetna’s “early” any-occupation assessment, it conducted a

telephone interview with Plaintiff on October 8, 2018. Plaintiff advised Aetna that he had

undergone a fusion surgery on October 4, 2018.

       45.      Aetna did not pursue medical records regarding fusion surgery.

       46.      On February 18, 2019, as part of the transition investigation, the assigned

Aetna claim representative referred Plaintiff’s claim to an Aetna vocational resource for an

“OccuSkillAssessment.” The accompanying referral comment was:

       [Plaintiff] has knowledge and ability to use a computer, can do emails, etc
       and types per [work history]. If the [Plaintiff] had [full time sedentary
       physical demand level] ability with ability to change positions as needed
       from sit/stand/walk would [Plaintiff] have the skills for [reasonable wage
       sedentary] employment?

       47.      On February 20, 2019, the Aetna vocational resource responded to the

referral.    The vocational specialist said “No.”      She endorsed that Plaintiff had no

transferable skills to alternate occupations and explained as follows:

       EE does not appear to have sedentary skills for alternative occupations within
       the sedentary [physical demand level] with potential to reach the reasonable
       wage criteria of 25.29 within the National Labor Market.

       48.      On March 29, 2019, Dr. Nassar responded to a request to complete another

Attending Physician Statement. Dr. Nassar endorsed that Plaintiff’s primary diagnosis was

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“cervical spondylosis”. The secondary diagnosis was “facet joint pain” and the other noted

diagnoses were “neck pain, right shoulder pain.”

       49.     Dr. Nassar endorsed that “[patient] is unable to work and has been disabled

due to noted diagnoses.” Dr. Nassar further commented that Plaintiff was not able to pass

a physical, his mental status was altered because the constant pain and use of narcotic pain

medications, and that it “would be near impossible for [patient] to maintain stable and

ongoing employment.”

       50.     Dr. Nassar again endorsed that Plaintiff had “no ability to work.”

       51.     On March 31, 2019, the assigned Aetna claim representative determined that

a “clinical consultant review” was needed.

       52.     On April 8, 2019, an Aetna-employed registered nurse, Roxanne Dunham,

performed the “clinical consultant review.”

       53.     Nurse Dunham never treated or examined Plaintiff.

       54.     Nurse Dunham reviewed the claim file and opined that “[g]iven subjective

[complaints of] back pain, imaging findings of degenerative changes, he is likely restricted

to lifting no more than 35 lbs. on occasional basis. Information does not support further

[restrictions or limitations].”

       55.     Nurse Dunham did not contact Plaintiff’s treating healthcare provider, Dr.

Nassar, to discuss Dr. Nassar’s contrary opinions.

       56.     In her review of the file, Nurse Dunham also noted that certain medical

records were or might be missing. Nurse Dunham said “[r]ecords are needed regarding his

reported spine fracture-exam and diagnostic testing. Note there are no spine surgery

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records.” She added “[t]here are no pain management records and these should be obtained

for the file.”

       57.       The next day, on April 9, 2019, the assigned Aetna claim representative

referred Plaintiff’s claim to an Aetna vocational resource for a “TransReview.” The

referral instruction was to perform a transferable skill analysis (“TSA”) and labor market

analysis based on the conclusion of Nurse Dunham that Plaintiff could work at the light

physical demand level.

       58.       The Aetna vocational resource responded to the referral a few hours later.

The vocational specialist’s conclusion was three occupations meet all required criteria,

including reasonable wage, education, experience, training and functional capacity within

Plaintiff’s labor market.

       59.       According to the Aetna vocational resource, the three “light” physical

demand level occupations Plaintiff could purportedly perform were Body Wirer, Electric

Meter Installer, and Trouble Shooter I.

       60.       Three days later, by letter dated April 12, 2019, Aetna notified Plaintiff that

LTD benefits would cease effective April 5, 2019 because he was not totally disabled from

performing any reasonable occupation for which he was qualified by education, training or

experience.

       61.       Aetna denied Plaintiff’s claim without first seeking to obtain and review the

missing information and records noted by Nurse Dunham in her “clinical review.”

       62.       On or about June 27, 2019, Aetna learned that Plaintiff had been awarded

SSDI benefits.

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       63.    Plaintiff appealed Aetna’s decision by letter dated July 12, 2019, and

submitted additional information and medical records in support of his claim. Plaintiff

submitted treatment records from (1) Dr. Timothy Puckett, orthopedic surgeon, (2) Dr.

William Schnitz, rheumatologist, (3) Dr. Marguerite Butchee, neurologist, and (4) Dr. Fadi

Nasr, neurosurgeon.

       64.    The medical records from Drs. Puckett, Schnitz, Butchee and Nasr evidenced

and confirmed Plaintiff’s consistent and repeated attempts to obtain relief from his chronic

and significant back, neck and shoulder pain, including a C5-C6, C6-C7 anterior cervical

discectomy and fusion and strong pain medications.

       65.    On July 22, 2019, the assigned Aetna appeal’s representative spoke with

Plaintiff by telephone. In discussing Plaintiff’s issues, the representative noted Plaintiff’s

remarks as “still spine always an issue, it will never be fixed. Has fibromyalgia and can’t

get numbness and pain out of hands, can’t grasp and hold onto things, and has dizzy spells

. . . . Still having bad migraines.”

       66.    By letter dated July 24, 2019, Aetna advised Plaintiff that, in view of new

information he wished to submit on appeal, he should submit such within 30 days and

Aetna would begin its review on August 24, 2019.

       67.    On or about July 29, 2019, Aetna determined to request “peer reviews” on

Plaintiff’s LTD claim from doctors whose specialty were neurology and internal medicine.

It requested the peer reviews from Reliable Review Services (“RRS”).

       68.    In furtherance of the requested peer reviews, Aetna provided claim file

documents and records to RRS.

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       69.    Aetna did not provide RRS with any document or record reflecting that

Plaintiff awarded SSDI benefits in 2019.

       70.    Aetna did not request Plaintiff’s SSDI claim file from the Social Security

Administration for consideration on Plaintiff’s LTD claim appeal.

       71.    Dr. Neil Gupta conducted the requested internal medicine file review and

produced a report. Aetna received Dr. Gupta’s report on August 14, 2019.

       72.    Dr. Gupta emphasized that his review was from an internal medicine

perspective only. Dr. Gupta answered the referral questions. In so doing, Dr. Gupta opined

that “the documentation does not support impairment from an Internal Medicine

standpoint” and “[t]he claimant has sustained functional capacity (8 hours a day 5 days a

week) from an Internal Medicine standpoint.”

       73.    Dr. Gupta never treated or examined Plaintiff.

       74.    Dr. Steven Graham conducted the requested neurology file review and

produced a report. Aetna received Dr. Graham’s report on August 14, 2019.

       75.    Dr. Graham emphasized that his review was from a neurology perspective

only. Dr. Graham answered the referral questions. In so doing, Dr. Graham opined that

“no specific neurological exam abnormalities were documented which would translate into

any specific physical restrictions or limitations from 4/16/19 to the present.”

       76.    Dr. Graham carefully addressed and distinguished Plaintiff’s spinal

impairments and pain.      Dr. Graham conceded that “[m]edical records note chronic

complaints of spinal pain for many years, however, not associated with any specific

documented neurological exam deficits.”

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       77.     Dr. Graham also stated “it appears that [Plaintiff’s] subjective complaints of

pain would be the most prominent self-limiting condition in regards to physical capacity.”

Dr. Graham further acknowledged that “the subjective nature of the pain and self-limiting

behaviors can negatively impact overall functional capacity . . . .”

       78.     Dr. Graham never treated or examined Plaintiff.

       79.     Drs. Gupta and Graham are not orthopedic doctors or neurosurgeons.

Neither are pain management doctors or have a pain subspecialty in their respective

practice areas.

       80.     Drs. Gupta and Graham were not the most appropriate trained and

experienced doctors to consider the principal field of medicine involved in Plaintiff’s

claim, i.e., spinal impairments and related chronic pain.

       81.     Following receipt of Drs. Gupta and Graham’s reports, Aetna determined

that the TSA done on April 9, 2019 was still valid.

       82.     Aetna’s reliance of the vocational analysis done on April 9, 2019 over the

contrary vocational analysis done on February 20, 2019 evidences the Plan’s unreasonable

and unprincipled review.

       83.     Aetna determined to render an appeal decision based on the reports provided

by Drs. Gupta and Graham. Consequently, Aetna notified Plaintiff of its final claim

decision by letter dated August 27, 2019. The denial rationale stated therein substantially

tracks the views expressed by Drs. Gupta and Graham pursuant to their respective file

reviews.



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       84.        At or about the time Aetna was issuing its appeal decision letter, Plaintiff

submitted a copy of the SSA’s Notice of Decision – Partially Favorable to Aetna. In

pertinent part, the Notice of Decision evidences that the SSA found Plaintiff to have the

following severe impairments: degenerative disc disease, chronic pulmonary disease, and

osteoarthritis.

       85.        The SSA’s Notice of Decision evidences that beginning April 21, 2019 and

thereafter, Plaintiff had no transferable job skills to other occupations and that Plaintiff was

disabled under the SSA’s rules effective April 21, 2019.

       86.        By letter dated August 29, 2019, Aetna advised it wouldn’t consider the SSA

information submitted because a final decision had been made on August 27.

       87.        Aetna failed to gather and examine material records and information that

militated in favor of a claim approval. In particular, although advised by Plaintiff and

Allsup that Plaintiff had been approved for SSDI benefits, Aetna made no effort to obtain

and review the SSDI claim file before finally denying Plaintiff’s LTD claim appeal.

       88.        Aetna’s failure to request or review Plaintiff’s SSDI claim evidences the

Plan’s unreasonable and unprincipled review.

       89.        Aetna did not request Plaintiff to undergo an independent medical

examination (“IME”) or functional capacity evaluation (“FCE”) before finally denying his

LTD claim.

       90.        Aetna’s failure to request an IME or FCE under the circumstances of

Plaintiff’s claim evidences the Plan’s unreasonable and unprincipled review.



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       91.     In denying Plaintiff’s LTD claim beyond April 5, 2019, the Plan, through the

actions and decisions of Aetna, conducted a skewed and self-interested investigation and

evaluation of Plaintiff’s claim, failed to apply the terms of the applicable Plan to Plaintiff’s

claim, mischaracterized record information and cherry-picked record information which

might lend support to a claim denial while de-emphasizing or disregarding record

information supportive of Plaintiff’s claim, and unreasonably relied on an unqualified

nurse and/or inappropriately qualified file-reviewing physician consultants.

       92.      Plaintiff has exhausted his administrative remedies.

                                IV.     Statement of Claims

                                     First Claim
                          ERISA – Improper Denial of Benefits

       93.     Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 92 of this Complaint as though set forth at length herein and further

alleges:

       94.     At all relevant times the terms of the Plan required payment of LTD benefits

to Plaintiff due to his debilitating conditions.

       95.     The Plan’s failure to approve “any-occupation” disability benefits to Plaintiff

beyond April 5, 2019 is contrary to the terms of the Plan, and is wrong, unreasonable, and

not supported by the substantial record evidence.

       96.     Plaintiff seeks a declaration from this Court that he is entitled to the LTD

benefits due him under the terms of the Plan, in the amounts and for the duration consistent




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with the terms of the Plan, and an Order that all future disability benefits should be paid

pursuant to the terms of the Plan.

       97.    Alternatively, Plaintiff seeks a declaration from this Court that the Plan’s

adverse claim decision is not the product of a full and fair review and he further seeks a

related Order, therefore, reinstating his LTD claim and remanding the matter to the Plan

for a full and fair review.

       98.    By reason of the Plan’s wrong, incorrect, unreasonable, and/or arbitrary and

capricious claim decision, Plaintiff has been forced to retain an attorney to secure the LTD

benefits due him under the terms of the Plan, for which Plaintiff has and will incur attorney

fees and costs.

       99.    Plaintiff is entitled to recover the reasonable attorney fees and costs of this

action pursuant to 29 U.S.C. § 1132(g)(1).

       WHEREFORE, Plaintiff Kyle Nicely demands judgment against Defendant Cox

Enterprises Inc., Welfare Benefits Plan, as follows:

       (1)    for a declaration that the Plan improperly terminated his LTD claim, and that

he is entitled to receive the amount of benefits due under the terms of the LTD Plan that

have not been paid, together with prejudgment and post-judgment interest thereon;

       (2)    for a declaration that all future LTD benefits be paid pursuant to the terms of

the Plan; or for a declaration that the Plan denied Plaintiff a full and fair review, and that

as a consequence thereof, his LTD claim should be reinstated and remanded for further

claims procedures;



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         (3)   for the costs of this action, and Plaintiff’s attorney fees pursuant to 29 U.S.C.

§ 1132(g); and

         (4)   for such other and further relief as may be deemed just and proper by the

Court.

                                                     Respectfully submitted,

                                                     SHOOK & JOHNSON, P.L.L.C.


                                            By:      s/ Jonathan E. Shook
                                                     Jonathan E. Shook, OBA #17343
                                                     7420 S. Yale Avenue
                                                     Tulsa, OK 74136
                                                     Telephone: (918) 293-1122
                                                     Facsimile: (918) 293-1133
                                                     jshook@shookjohnson.com

                                                     ATTORNEY FOR PLAINTIFF




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